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                                                                          United States Bankruptcy Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             September 21, 2021
                        UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

LIBERTY MUTUAL INSURANCE                    §
COMPANY, et al,                             §
                                            §
       Appellants,                          §
VS.                                         § CIVIL ACTION NO. 4:21-CV-2243
                                            §
                                            §
FIELDWOOD ENERGY LLC, et al.,               §
                                            §
       Appellees.


                                        ORDER

      The Appellants have moved to withdraw their Notice of Appeal.

      The Appeal is hereby DISMISSED.


      SIGNED at Houston, Texas, this 21st day of September, 2021.


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                                                       GEORGE
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                                                           R E C.C HANKS,
                                                                    HANKS JRJR.
                                               UNITED STATES DISTRICT JUDGE
